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17
                               UNITED STATES DISTRICT COURT
18
                            NORTHERN DISTRICT OF CALIFORNIA
19
     ROADRUNNER RECYCLING, INC.,                  Case No. 3:23-cv-04804-WHA
20
                      Plaintiff,                  DEFENDANTS’ MEMORANDUM OF
21        v.                                      POINTS AND AUTHORITIES IN
                                                  SUPPORT OF MOTION FOR SUMMARY
22 RECYCLE TRACK SYSTEMS, INC., and               JUDGMENT
   RECYCLESMART SOLUTIONS INC.,
23                                                Assigned for All Purposes to:
               Defendants.                        The Hon. William H. Alsup
24

25                                                Date: November 14, 2024
                                                  Time: 8:00 a.m.
26                                                Place: Courtroom 12, 19th Floor

27                                                Complaint Filed:    August 4, 2023
                                                  Trial Date:         December 9, 2024
28
                  ENTIRE DOCUMENT FILED UNDER SEAL

       DEFENDANTS’ MEMO ISO MOTION FOR SUMMARY JUDGMENT (CASE NO. 3:23-CV-04804-WHA)
